     Fill in this information to identify your case:
^    Debtor 1                   MORGAN LEWIS
                                First Name                           Middle Name                          Last Name

     Debtor 2
     (Spouse if, filing)        First Name                           Middle Name                                                                               FEB 2 3 2021
     United States Bankruptcy Court forthe:                   DISTRICTOFARIZONA                                                                                     UNITED_STATES^
                                                                                                                                                             e.wkn'UPTCYCOURT^
                                                                                                                                                     FO. THici3Ti:iiOTOFAR!ZO:iA
                                      tt-ti3t4
     Case number
     (if known)                                                                                                                                                        d Check if this is an
                                                                                                                                                                         amended filing



    Official Form 106Sum
    Summa                  of Your Assets and Liabilities and Certain Statistical Information                                                                                   12/15
    Beas complete andaccurateas possible. Iftwo married people arefiling together, both areequally responsibleforsupplying correct
    information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
    your original forms, you must fill out a new Summaryand check the box at the top of this page.
                    Summarize Your Assets

                                                                                                                                                                         Your assets
                                                                                                                                                                         Vatoe of what ysu own

    1      ScheduleA/B: Property (Official Form 106A/B)
            1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................        $             225, 000. 00
            1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................             $              10. 905. 00

           1c. Copy line 63, Total of all property on Schedule A/B,..............................................................................................         $             235. 905. 00

                   Summarize Your Liabilities




    2.     Schedu!e D: Creditors Who Have Claims Secured by Property (Official Form 106D)
           2a. Copy the total you listed in Column A, Amountof claim, at the bottom ofthe last page of Part 1 of Schedule D...                                                          110, 494. 00

    3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
           3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.                                                                                     0.00

           3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F.                                                                            85, 516. 00


                                                                                                                                        Your total liabilities                     196,010.00


35ERB*^i SummarizeYourIncomeand Ex enses
    4.     Schedule I: Your Income (Official Form 1061)
           Copy your combined monthly income from line 12 of Schedule I.                                                                                                                       0.00

    5.     Schedule J: Your Expenses (Official Form 106J)
           Copy your monthly expenses from line 22c of Schedule J.                                                                                                                             0. 00
BsSHRI^SM Ar               er These Questions for Administrative and Statistical Records

    6.    Are you filing for bankruptcy under Chapters 7, 11, or 13?
           C]      No. You have nothingto report on this part ofthe form. Checkthis boxand submit this form to the court with your other schedules.

          H Yes
    7.    What kind of debt do you have?

           g      Your debts are primarily consumer debts. Consumerdebtsare those "incurred by an individual primarily for a personal, family, or
                   household purpose. " 11 U. S. C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U. S. C. § 159.

          D       Your debts are not primarily consumer debts. You have nothingto repoit on this part ofthe form. Checkthis box and submit this form to
                  the court with your other scheduies.
    Official Form 106Sum                     Summary of Your Assets and Liabilities and Certain Statistical information                                                       page 1 of 2
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                  Case 4:21-bk-01324-BMW                                  Doc 6 Filed 02/23/21 Entered 02/24/21 10:32:28BestCase
                                                                                                                             DescBenkruptcy

                                                                         Main Document    Page 1 of 34
  Debtor 1      MORGAN LEWIS                                                                Case number (if known)

  8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
        122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                        0. 00
                                                                                                                                             __^:J
  9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                Pan 4 on Schedule E/F, copy the following:

        9a. Domestic support obligations (Copy line 6a.)                                                                   0.00

        9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $               0.00

        9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $               0. 00
        9d. Student loans. (Copy line 6f.)                                                                 $               0.00

        9e. Obligations arising out of a separation agreement or divorce that you did not report as
            priority claims. (Copy line 6g.)                                                               $               0.00

        9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$               0.00


        9g. Total. Add lines 9a through 9f.                                                           $                 0.00




Official Form 106Sum                              Summary of Your Assets and Liabilities and Certain Statistical Information             page 2 of 2
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             Case 4:21-bk-01324-BMW                               Doc 6 Filed 02/23/21 Entered 02/24/21 10:32:28                    Desc
                                                                                                                                   Best Case Bankruptcy

                                                                 Main Document    Page 2 of 34
   Fill in this information to identify your case and this filing:

  Debtor 1                     MORGAN LEWIS
                               First Name                                Middle Name                      Last Name

  Debtor 2
  (Spouse, if filing)          First Name                                Middle Name


  United States Bankruptcy Court for the: DISTRICTOF ARIZONA

  Case number                                                                                                                                                   D    Check if this is an
                                                                                                                                                                     amended filing



 Official Form 106A/B
 Schedule A/B: Pro ert                                                                                                                                              12/15
 In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you think
 it fits best. Be as complete and accurate as possible. Iftwo married people are filing together, both are equally responsible for supplying correct information. If
 more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

F               Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

    D No. Goto Part2.
    Bl Yes. Whereisiheproperty?



  1.1                                                                            What is the property? Check all that apply
         10696 E WALLFLOWERLN                                                            Single-family home                          Do r»t deduct secured claims or exemptions Put the
         Street address, if available, or other description                                                                          amount of any seeuffid elanns an Schedule D-
                                                                                         Duplex or multi-unit building
                                                                                                                                     Creditors Wha Haw Qlains Swured By Property.
                                                                                         Condominium or cooperative

                                                                                   D Manufacturedor mobile home
                                                                                                                                     Current value of the       Current value of the
         Fiorence                           AZ        85132-0000                   Q Land                                            entire property?           portion you own?
         Citv                               State             ZIP Code             D Investmentproperty                                    $225, 000. 00                $225, 000. 00
                                                                                   D Timeshare
                                                                                                                                     Describe the nature of your ownership interest
                                                                                   D Other                                           (such as fee simple, tenancy by the entireties, or
                                                                                 Who has an interest in the property? Check one      a life estate), if known.
                                                                                         Debtor 1 only
         Final                                                                     D Debtor2 only
         County                                                                    D Debtor1 andDebtor2 only
                                                                                                                                         Check if this is community property
                                                                                   D At least one ofthedebtors and another               (see instructions)
                                                                                 Other information you wish to add about this item, such as local
                                                                                 property identification number:




 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
        pages you have attached for Part 1. Write that number here.                                                                                                  $225,000.00


                Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whetherthey are registered or not? Includeany vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                                   Schedule A/B: Property                                                                       page 1
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                 Case 4:21-bk-01324-BMW                                      Doc 6 Filed 02/23/21 Entered 02/24/21 10:32:28                                             Desc
                                                                            Main Document    Page 3 of 34
  Debtor 1           MORGAN LEWIS                                                                                Case number (if known)

 3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

    D No
          Yes


   3. 1     Make:       DODGE                                   Who has an interest in the property? Check one                                                      Put

            Model:      RAM 1500                                     Debtor 1 only                                      Creates V o HaveCfa/msSecuredbyPmpeity
            Year:      2015                                     D Debtor 2 only                                         Current value of the      Current value of the
            Approximate mileage:              170, 000          D Debtor 1 and Debtor 2 only                            entire property?          portion you own?
            Other information:                                  D At least one ofthe debtors and another
           VEHICLECO-OWNEDBY
           DEBTORAND DEBTOR'S                                   D Checkifthisiscommunityproperty                                 $8, 500. 00                 $8, 500. 00
           HUSBAND                                                   (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

    k No
    D Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   pages you have attached for Part 2. Write that number here.
     .
                                                                                                                                                         $8,500.00

             Describe Your Personal and Household Items

 Do you own or have any legal or equitable interest in any of the following items?                                                             Ciarrent value of the

                                                                                                                                               Do not deductsecured
                                                                                                                                               cteims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
    a No
          Yes. Describe.....


                                     3 BEDS 300. 00, 3 DRESSERS 60. 00, 1 COUCH 75. 00, 1 RECLINER
                                     60. 00, 1 COFFEE TABLE 30. 00, 1 END TABLE 20. 00, 1 TrfSTAND
                                     30. 00, 1 KITCHEN TABLE 4 CHAIRS 80, 00, 1 STOVE 200. 00, 1
                                     REFRIGERATOR 200. 00, 1 WASHER 250. 00, 1 DRYER 100. 00, 4
                                     TVS 250. 00, 1 COMPUTER 150. 00, 1 TABLET 50. 00                                                                        $1, 855. 00


7. Electronics
     Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
               including cell phones, cameras, media players, games
    . No
    D Yes. Describe.....

8. Collectibles of value
     Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections:
                     other collections, memorabilia, collectibles
    N No
    D Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment: bicycles, pool tables, golf clubs, skis: canoes and kayaks; carpentry tools;
                     musical instruments
    la No
    D Yes. Describe.....

10. Firearms
         Examples: Pistols, rifles, shotguns, ammunition, and related equipment
          No
Official Form 106A/B                                                      ScheduleA/B: Property                                                                    page 2
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                Case 4:21-bk-01324-BMW                            Doc 6 Filed 02/23/21 Entered 02/24/21 10:32:28                                        Desc
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 Debtor 1        MORGAN LEWIS                                                                                         Case number (if known)

    D Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    D No
        Yes. Describe.....


                                       CLOTHES                                                                                                                 $200.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
    D No
        Yes. Describe.....


                                       COSTUMEJEWELRY                                                                                                            $50. 00

13. Non-fann animals
      Examples: Dogs, cats, birds, horses
       No
    D Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
        No
    D Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
       for Part 3. Write that number here..........................................................................                                     $2, 105. 00


        , Describe Your Financial Assets
       Si
 Do you own or have any legal or equitable interest in any of the following?
                                                                                                                                               portion you own?
                                                                                                                                               Do net deduct secured



16. Cash
      Examples: Money you have in yourwallet, in your home, in a safe deposit box, and on handwhen you file your petition
        No
    D Yes.

17 Deposits of money
      Examples: Checking, savings, or other financialaccounts; certificates of deposit; shares in credit unions, brokerage houses, and othersimilar
                     institutions. !f you have multiple accounts with the same institution, list each.
    D No
       Yes........................                                                   Institution name:

                                         17. 1. Checking                                                                                                       $300.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
    B No
    D Yes..................                      Institution or issuer name:

19. Non-publiclytraded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership,
      and joint venture
       No
    D Yes. Give specific information about them.
                                            Name of entity:                                                           % of ownership:




Official Form 106A/B                                                          Schedule A/B: Property                                                              page 3
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                                                                     Main Document    Page 5 of 34
 Debtor 1       MORGAN LEWIS                                                                        Case number (if known)

20 Government and corporate bonds and other negotiable and non-negotiable instruments
      Negotiableinstruments include personal checks, cashiers' checks, promissory notes, and money orders.
      Non-negotiableinstruments are those you cannottransferto someone by signing or delivering them.
        No
    D Yes. Give specificinformation aboutthem
                                        Issuer name:


21 Retirement or pension accounts
      Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savingsaccounts, or other pension or profit-sharingplans
    a No
    D Yes. List each account separately.
                              Type of account:                         Institution name:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
     Examples:Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
    K No
    D Yes.                                                    Institution name or individual:

23. Annuities (A contract for a periodicpayment of money to you, either for life or for a number of years)
        No
    D Yes.............         Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 LJ.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
    a No
    D Yes.............    Institution nameanddescription. Separatelyfiletherecordsofanyinterests. 11 U. S. C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
    H No
    D Yes, Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
    BNO .
    D Yes. Give specificinformation about them...

27 Licenses, franchises, and other general intangibles
      Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
    la No
    D Yes. Give specific information about them...

 Money or property owed to you?                                                                                                  Current value of the
                                                                                                                                 portion yeu own?
                                                                                                                                 Do not deduct secured
                                                                                                                                 Giairns or exemistiorts.

28. Tax refunds owed to you
    H No
    D Yes. Give specific information about them, including whether you already filed the returns and the tax years.......


29. Family support
     Examples: Pastdue or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
    ESNO
    D Yes. Give specific information......


30. Other amounts someone owes you
      Examples: Unpaid wages, disability insurancepayments, disabilitybenefits, sick pay, vacation pay, workers' compensation, SocialSecurity
                   benefits; unpaid loans you made to someone else
       No
    d Yes. Give specific information..


Official Form 106A/B                                               Schedule A/B: Property                                                            page 4
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             Case 4:21-bk-01324-BMW                            Doc 6 Filed 02/23/21 Entered 02/24/21 10:32:28                              Desc
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  Debtor 1         MORGAN LEWIS                                                                              Case number (if known)

 31 Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
      No
     D Yes. Namethe insurancecompanyofeach policyand list its value.
                                            Company name:                                           Beneficiary:                        Surrender or refund
                                                                                                                                        value:

 32. Any interest in property that is due you from someone who has died
        If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
       someone has died.

          No
     D Yes. Give specific information..

 33. Claims againstthird parties, whetheror not you have filed a lawsuitor made a demandfor payment
      Examples: Accidents, employment disputes, insurance claims, or rights to sue
       No
     D Yes. Describe each claim.

 34. Other contingentand unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
     18 No
     D Yes. Describe each claim.

 35. Any financial assets you did not already list
     S No
     d Yes. Give specific information..

 36. Add the dollarvalue of ati of your entries from Part4, including any entries for pages you have attached
        for Part 4. Write that number here.                                                                                                          $300. 00

            Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
    "J No. Go to Part 6.
    D Yes. Go to !ine 38.



 Part 6    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in anyfarm- or commercial fishing-relatedproperty?
           No. Goto Part 7.
       D Yes. Goto line47.


                 Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
     No
    D Yes. Give specific information.

 54 Add the dollar value of all of your entries from Part 7 Write that number here                                                                      $0. 00




Official Form 106A/B                                                   Schedule A/B: Property                                                                page 5
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               Case 4:21-bk-01324-BMW                               Doc 6 Filed 02/23/21 Entered 02/24/21 10:32:28                                Desc
                                                                   Main Document    Page 7 of 34
  Debtor 1         MORGAN LEWIS                                                                           Case number (if known)

                 List the Totals of Each Part of this Form


  55.    Part 1: Total real estate, line 2                                                                                                $225, 000. 00
  56. Part 2: Total vehicles, line 5                                                       $8, 500. 00
  57. Part 3: Total personal and household items, line 15                                  $2, 105. 00
  58. Part 4: Total financial assets, line 36                                                $300.00
  59    Part 5: Total business-related property, line 45                                        $0. 00
  60. Part 6: Total farm- and fishing-related property, line 52                                 $0. 00
  61. Part 7; Total other property not listed, line 54                                          $0. 00
  62. Total personal property. Add lines 56 through 61...                                 $10,905.00     Copy personal property total        $10, 905. 00

  63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                      $235,905.00




Official Form 106A/B                                                   Schedule A/B: Property                                                       page 6
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              Case 4:21-bk-01324-BMW                                Doc 6 Filed 02/23/21 Entered 02/24/21 10:32:28                       Desc
                                                                                                                                        Best Case Bankruptcy

                                                                   Main Document    Page 8 of 34
  Fill in this information to identify your case:
               1            MORGAN LEWIS
                            First Name                         Middle Name                 Last Name

  Debtor 2
  (Spouse if, filing)       First Name                         Middle Name                 Last Name


  United States Bankruptcy Court for the:                DISTRICT OF ARIZONA

  Case number
  (if known)
                                                                                                                                       D Check if this is an
                                                                                                                                         amended filing

 Official Form 106C
 Schedule C: The Property You Claim as                                                                    empt                                                 4/19

 Be as complete and accurateas possible. Iftwo married people arefilingtogether, bothareequally responsibleforsupplying correct information. Using
 the property you listed on ScheduleA/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
 needed, fill out and attach to this page as many copies of Part 2; Additional Page as necessary. On the top of any additional pages, write your name
 and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions-such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds-may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceedthat amount, your exemption would be limited
to the applicable statutory amount.

g'"" S^SSidenti the Prope YouClaimas Exempt
  1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

       H Youareclaimingstateandfederalnonbankruptcyexemptions. 11 U.S.C. § 522(b)(3)
       D You areclaimingfederalexemptions. 11 U.S.C. § 522(b)(2)
 2    For any property you iist on Schedule A/B that you claim as exempt, fill in the information below.
      Brief aescription of the property and line on               Current value of the
      Schedule A®tfiat lists this property                        portion you awn
                                                                  Copy tie value frcm
                                                                  Schw&tleAiS

      10696 E WALLFLOWER LN Florence,                                  $225, 000. 00                           $114,506.00      Ariz-Rev-Stet-§ 33-1101(A)
      AZ 85132 Pinal County
      Line from Schedule A/B: 1.1                                                            100% affair market value, up to
                                                                                             any applicable statutory limit

      2015 DODGE RAM 1500 170, 000                                       $8, 500. 00                              $6,000.00     Ariz. Rev. Stat. § 33-1125(8)
      miles
      VEHICLE CO-OWNED BY DEBTOR                                                             100% of fair market value, up to
      AND DEBTOR'S HUSBAND                                                                   any applicable statutory limit
      Line from Schedule A/B: 3.1

      3 BEDS 300. 00, 3 DRESSERS 60. 00, 1                               $1, 855. 00                              $1, 855. 00   Ariz- Rev- stat- § 33-1123
      COUCH 75.00, 1 RECLINER60.00, 1
      COFFEE TABLE 30. 00, 1 END TABLE                                                   D 100% offairmarket value, upto
      20. 00, 1 TV STAND 30. 00, 1 KITCHEN                                                   any applicable statutory limit
      TABLE 4 CHAIRS 80. 00, 1 STOVE
      200. 00, 1 REFRIGERATOR 200. 00, 1
      WASHER 250. 00, 1 DRYER 100. 00, 4
      TV'S 250. 00, 1 COMPUTER 1
      Line from Schedule A/B: 6.1

      CLOTHES                                                                $200.00                                $200.00     Ariz- Rev-stat- § 33-1125(1)
      Line from Schedule A/B: 11.1
                                                                                         1-t 100%offairmarketvalue, upto
                                                                                             any applicable statutory limit




Officiai Form 106C                                        ScheduleC: The Property You Claim as Exempt                                                   page 1 of 2
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                                                                                                                                                  Best Case Bankruptcy

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  Debtor1      MORGAN LEWIS                                                                             Case number (if known)

       Brief description erf the property and line OB           Current valueofthe     Amount ofthe exemption you claim
       ScheduleA®that lists (his property
                                                                Co{»y the value ftom
                                                                 Schedule A/B

       COSTUMEJEWELRY                                                       $50. 00                                $50.00        Ariz-Rev-stat § 33-1125(4)
       Line from Schedule A/B: 12.1
                                                                                       D 100%offairmarket value, upto
                                                                                           any applicable statutory limit

      Checking:                                                           $300. 00                                $300.00        Ariz- Rev- stat §
      Line from Schedule A/B: 17.1                                                                                               33-1126(A)(9)
                                                                                       ^   100%offairmarket value, upto
                                                                                           any applicable statutory limit


  3   Are you claiming a homestead exemption of more than $170, 350?
      (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
           No

      D     Yes. Did you acquire the property covered by the exemption within 1, 215 days before you filed this case?
             D      No
             D      Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                   page 2 of 2
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             Case 4:21-bk-01324-BMW                              Doc 6 Filed 02/23/21 Entered 02/24/21 10:32:28                                      Desc
                                                                Main Document    Page 10 of 34
  Fill in this information to identify your case:
  Debtor 1                   MORGAN LEWIS
                             First Name                        Middle Name

  Debtor 2
  (Spouse if, filing)        First Name                        Middle Name                       Last Name


  United States Bankruptcy Court forthe:                 DISTRICTOFARIZONA

  Case number
  (if known)                                                                                                                                    D Check if this is an
                                                                                                                                                  amended filing

 Official Form 106D
 Schedule D: Creditors Who Have Claims Secured by Property                                                                                                          12/15
 Be as complete and accurate as possible. Iftwo married people are filing together, both are equally responsible for supplying correct information. If more space is
 needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
 known).
 1. Doany creditors haveclaims secured by your property?
        D No. Checkthis boxandsubmitthisformto the courtwithyourotherschedules.You havenothingelse to report on this form.
        S3 Yes. Fill in all of the information below.
  Part 1:        List All Secured Claims
                                                                                                              <::ste'"flA            CokMm B                Cottimn C
 2.List ati sesured claims. tf a creditor has more than one saeyred eiaim, Dst (he creiitoT sepafately for
 each claim. If frwre than one creditor has a pwfieular claim, list the other creditors 'in Paft2. Asrnt. ieh Amount of claim        Valueof collateral     Unsecured
 as possiHp, list the claims in alphabetical order aeeordtaa to the cr-edftw's name.                          Dofiotdeiauotthe       that supports this     portion
                                                                                                              value of collateral    claim                  Ifany
 2.1
      71 LOANCARESERVICING
         CENTER LLC                                  Describe the property that secures the claim:              $110, 494. 00             $225, 000. 00                 $0.00
         Creditor's Name
                                                     10696 E WALLFLOWERLN
                                                     Florence, AZ 85132 Pinal County
                                                     As of the date you file, the claim is: Check all that
         3637 SENTARAWAY                             apply.
         Virginia Beach, VA 23452                    D Contingent
         Number, Street, City, State & Zip Code      E3Unliquidated
                                                     D Disputed
 Who owes the debt? Check one.                       Nature of lien. Check all that apply.

       Debtor 1 only                                     An agreementyou made (such as mortgage or secured
 D Debtor 2 only                                          car loan)
 D Debtor1 andDebtor2 only                           D Statutory lien (such astax lien, mechanic's lien)
 D At least one ofthe debtors and another            D Judgment lien from a lawsuit
 D Check if this claim relates to a                  D Other (including a rightto offset)
       community debt

 Date debt was incurred         04/0 1/11                    Last 4 digits of account number         1000




      Addthedollarvalueofyourentries toColumnA onthispage.Writethatnumberhere:                                              $110,494.00
   Ifthis is the last page ofyour form, addthe dollar valuetotals from all pages.
   Writethat number here:                                                                                                   ^>iiu,tm.i

I. ""-*aJ^tOthers to Be Notifiedfor a DebtThat You Alread Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed In Part 1. For example, if a collection agency is trying
 to collect from you fora debtyou oweto someoneelse, list the creditor in Part 1, andthen listthecollection agencyhere. Similarly, if you havemerethanone
 creditor for any of the debts that you listed in Part 1, list the additional creditors here. Ifyou do not have additional persons to be notified for any debts in Part 1,
 do not fill out or submit this page.




Officia! Form 106D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 1
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   Fill in this information to identify your case:

                              MORGAN LEWIS
                              First Name                       Middle Name                         Last Name

   Debtor 2
   (Spouse if, filing)        First Name                       Middle Name                         Last Name


   United States Bankruptcy Court for the:               DISTRICT OF ARIZONA

  Case number
  (if known)
                                                                                                                                                     D Check if this is an
                                                                                                                                                       amended filing

 Official Form 106E/F
 Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15
 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITf claims. Listthe other party to
 anyexecutorycontractsor unexpiredleasesthatcould result in a claim. Also listexecutoiycontractson ScheduleA/B: Property(OfficialForm 106A/B)aridon
 ScheduleG: ExecutoryContractsand UnexpiredLeases(OfficialForm 106G).Donot includeanycreditorswithpartiallysecuredclaimsthatarelisted in Schedule
 D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
 theContinuationPagetothispage.Ifyouhavenoinformationto reportina Part,donotfilethatPart.Onthetopofanyadditionalpages,writeyournameandcase
 number (if known).
                  List All of Your PRIORITY Unsecured Claims
  1. Do any creditors have priority unsecured claims againstyou?
            No. Go to Part 2.
       D Yes.

                  USt All of Your NONPRIORITY Unsecured Claims
  3.   Do any creditors have nonpriority unsecured claims against you?

       D No.Youhavenothingtoreportinthispart.Submitthisformtothecourtwithyourotherschedules. '


 4. ListatiotyourmmpriorilyunseGUFedctairasintheafphabeficalorderofthecreditorwhoholdseachcIaBm.ira erectitorhasmareAanonenonpriorityunsecured
       claim, listthe credtor separgtely fat eaehcSaw. Foreaenclaim Frsted, ktentifywtiat type ofetairo it Is. Donetlist claims already inctoded in Part 1 Ifrawethan one
       creditor holds a .partteutar daEm, list the ofheF creditors in Pan 3. 1f you have more than three nenpnority unsesuredclaims fill out the Continyatipn Page of Part 2.

                                                                                                                                                            Total claim

14. 1 i        BARCLAYS BANK DELAWARE                                  Last 4 digits of account number         1000                                                     $1, 132.00
               Nonpriority Creditor's Name
               PO BOX 8803                                             Whenwasthe debt incurred?               04/01/19
               Wiimin ton, DE 19899
               Number Street City State Zip Code                       As of the date you file, the claim Is: Check all that apply
               Whomcurred the debt? Check one.
                                                                       D Contingent
                  Debtor 1 only
                                                                             Unliquidated
               D Debtor 2 only
                                                                       d Disputed
               D Debtor 1 and Debtor 2 only                            Type of NONPRIORITfunsecured claim:
               D At least one of the debtors and another               D Student loans
               D Check ifthis claim is fora community debt             D Obligations arisingoutofa separation agreement ordivorcethatyoudidnot
               Is the claim subject to offset?                         report as priority claims
               ""No                                                    D Debts to pension or profit-sharing plans, and othersimilar debts
               Dyes                                                    S Other. Specify CREDIT




Official Form 106 E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                               Page 1 of 8
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  Debtor 1 MORGAN LEWIS                                                                                    Case number (if known)

  4.2           BARCLAYS BANK DELAWARE                                Last4 digits of accountnumber           UNTS                                           $5,623. 00
                Nonpriority Creditor's Name
               PO BOX 8803                                            Whenwasthe debt incurred?              05/01/20
               Wilmin ton, DE 19899
                Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.
                                                                      D Contingent
                   Debtor 1 only
                                                                          Unliquidated
               D Debtor 2 only
                                                                      D Disputed
               D Debtor 1 and Debtor 2 only                           Type of NONPRIORITyunsecured claim:
               D At least one of the debtors and another              D Studentloans
               D Check ifthis claim is for a community debt           D Obligations arising out ofa separation agreement or divorce that you did not
               Istheclaimsubjectto offset?                            report as priority claims
                   No                                                 D Debts to pension or profit-sharing plans, and other similar debts
               D Yes                                                      Other. Specify CREDIT

  4.3          BEST BUY/CBNA                                          Last 4 digits of account number        UNTS                                           $9,787.00
               Nonpriority Creditor's Name
               PO BOX 6497                                            When was the debt incurred?            04/01/19
               Sioux Falls, SD 57117
               Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.
                                                                      D Contingent
               H. Debtor1   only     '   .


                                                                      W Unliquidated
           .




               D Debtor 2 only
                                                                      D Disputed
               D Debtor 1 and Debtor 2 only                           Type of NONPRIORIPT unsecured claim:
               D At least one of the debtors and another              D Student loans
               D Check if this claim is for a community debt          D Obligations arising out ofa separation agreement or divorce thatyou did not
               Is the claim subject to offset?                        report as priority claims
                                                                      D Debts to pension or profit-sharing plans, and other similar debts
               D Yes                                                      Other.Specify THEHOMEDEPOT

 4.4           CAPITALONE BANK                                        Last 4 digits of account number        UNTS                                         $13, 331. 00
               Nonpriority Creditor's Name
               PO BOX 31293                                           Whenwasthe debt incurred?              04/01/19
               Salt Lake d , UT 84131
               Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.
                                                                      D Contingent
                  Debtor 1 only
                                                                         Unliquidated
               D Debtor 2 only
                                                                      D Disputed
               D Debtor 1 and Debtor 2 only                           Type of NONPRIORITfunsecured claim:
               D At leastone ofthe debtors and another                D Studentloans
               D Check if this claim is for a community debt          D Obligationsarisingoutofa separationagreementordivorcethatyoudidnot
               Is the claim subject to offset?                        report as priority claims
               a No                                                   D Debtsto pension or profit-sharing plans, and othersimilar debts
               D Yes                                                     Other. Specify CREDIT




Official Form 106 E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 2 of 8
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   Debtor 1 MORGAN LEWIS                                                                                    Case number (if known)

  4.5        CB INDIGO                                                  Last 4 digits of account number        1000                                     $297.00
             Nonpriority Creditor's Name
             PO BOX 4499                                                When was the debt incurred?            05/01/20
             Beaverton, OR 97076
             Number Street City State Zip Code                          As ofthe date you file, the claim is: Checkall thatapply
            Who incurred the debt? Check one.
                                                                        D Contingent
                Debtor 1 only
                                                                           Unliquidated
             D Debtor2 only
                                                                        D Disputed
             D Debtor 1 and Debtor 2 only                              Type of NONPRIORITY unsecured claim:
             D At least one of the debtors and another                  D Student loans
             D Check ifthis claim is for a community debt               D Obligationsarisingoutofa separationagreementordivorcethatyoudidnot
            Is the claim subject to offset?                            report as priority claims
                No                                                     D Debts to pension or profit-sharing plans, and other similar debts
            D Yes                                                          Other.Specify CREDIT

  4.6       CITI CARDS/CITIBANK                                        Last 4 digits of account number        1000                                   $4,793.00
            Nonpriority Creditor's Name
            PO BOX 6190                                                Whenwas the debtincurred?              05/01/20
            Sioux Falls, SD 57117
            NumberStreet City StateZip Code                            As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.
                                                                       D Contingent
                Debtor 1 only
                                                                           Unliquidated
            D Debtor 2 oniy
                                                                       D Disputed
            D Debtor 1 and Debtor 2 only                               Type of NONPRIORITY unsecured claim:
            D At least one of the debtors and another                  D Student loans
            D Check ifthis claim is for a community debt               D Obligationsarisingoutofa separationagreementordivorcethatyoudidnot
            Is the claim subject to offset?                            report as priority claims

                No                                                     D Debtstopensionorprofit-sharingplans,andothersimilardebts
            D Yes                                                          Other. Specify CREDIT

 4.7        COMENITfBANK/CAPITALBANK                                   Last 4 digits of account number        1000                                     $444.00
            Nonpriority Creditor's Name
           PO BOX 182120                                               When was the debt incurred?            04/01/20
           Columbus, OH 43218
            NumberStreet City StateZip Code                            As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
                                                                       D Contingent
           S Debtor1 only
                                                                           Unliquidated
           D Debtor2 only
                                                                       D Disputed
           D Debtor 1 and Debtor 2 only                                Type of NONPRIORirrunsecured claim:
           D At least one of the debtors and another                   D Student loans
           D Check ifthis claim is for a community debt                D Obligationsarisingoutofa separationagreementordivorcethatyoudidnot
           Is the claim subject to offset?                             report as priority claims
               No                                                      D Debtstopensionorprofit-sharingplans,andothersimilardebts
           D Yes                                                          Other.Specify CREDIT




Official Form 106 E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 3 of 8
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  Debtor 1 MORGAN LEWIS                                                                                      Case number (if known)

             COMENITYBANK/VICTORIA'S
  4.8        SECRET                                                      Last4 digitsofaccountnumber            UNTS                                            $3, 561. 00
             Nonpriority Creditor's Name
             PO BOX 182789                                              Whenwasthe debt incurred?               05/01/19
             Columbus, OH 43218
             Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.
                                                                         D Contingent
                Debtor 1 only
                                                                            Unliquidated
             D Debtor 2 only
                                                                         D Disputed
             D Debtor 1 and Debtor 2 only                               Type of NONPRIORITYunsecured claim;
             D At least one of the debtors and another                  D Studentloans
             D Check if this claim is for a community debt              D Obligationsarisingoutofa separationagreementordivorcethatyoudidnot
            Is the claim subject to offset?                             report as priority claims
                No                                                      D Debtstopensionorprofit-sharingplans,andothersimilardebts
            D Yes                                                           Other. Specify CREDIT

  4.9       CREDITONE BANK                                              Last 4 digits of account number        1000                                               $188.00
            Nonpriority Creditor's Name
            PO BOX 98872                                                Whenwasthe debt incurred?              02/01/19
            Las Ve as, NV 89193
            Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one. .
                                                                        D Contingent
                Debtor 1 only .
                                                                            Unliquidated
            D Debtor 2 only
                                                                        D Disputed
            D Debtor 1 and Debtor 2 only                                Typeof NONPRIORITYunsecured claim:
            D At least one of the debtors and another                   D Student loans
            D Check ifthis claim is for a community debt                D Obligations arisingoutofa separation agreement ordivorcethatyoudidnot
            Is the claim subject to offset?                             report as priority claims
            B No                                                        D Debtsto pension or profit-sharing plans, and othersimilar debts
            D Yes                                                           Other. Specify CREDIT

 4. 10      DISCOVERFINANCIAL                                           Last 4 digits of account number        1000                                            $4, 929. 00
            Nonpriority Creditor's Name
            PO BOX 15316                                                Whenwasthe debt incurred?              04/01/20
            Wilmin ton, DE 19850
            Number Street Oity State Zip Code                           As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
                                                                        D Contingent
            B Debtor 1 only
                                                                           Unliquidated
            D Debtor2 only
                                                                        D Disputed
            D Debtor 1 and Debtor 2 only                                Type of NONPRIORITY unsecured claim:
            D At least one ofthe debtors and another                    D Student loans
            D Check if this claim is for a community debt               D Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                             report as priority claims
               No                                                       D Debtstopensionorprofit-sharingplans,andothersimilardebts
            D Yes                                                          Other. Specify CREDIT




Official Form 106 E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 4 of 8
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  4. 11      FNB OMAHA                                                  Last 4 digits of account number        1000                                         $10, 607. 00
             Nonpriority Creditor's Name
             PO BOX 3412                                               Whenwasthe debt incurred?              04/01/20
             Omaha, NE68197
             Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.
                                                                        D Contingent
                Debtor 1 only
                                                                           Unliquidated
             D Debtor2 only
                                                                        D Disputed
             D Debtor 1 and Debtor 2 only                              Type of NONPRIORITV unsecured claim:
            D At least one of the debtors and another                  D Student loans
            D Checkifthisclaimisfora communitydebt                     D Obligations arising out ofa separation agreement or divorce that you did not
            Is the claim subject to offset?                            report as priority claims
                No                                                     D Debts to pension or profit-sharing plans, and other similar debts
            D Yes                                                          Other. Specify CREDIT

 k 12       FNB OMAHA                                                  Last 4 digits of account number        1000                                           $3, 575. 00
            Nonpriority Creditor's Name
            PO BOX 3412                                                When was the debt incurred?            06/01/19
            Omaha, NE 68197
            Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.
                                                                       D Contingent
                Debtor 1 only
                                                                           Unliquidated
            D Debtor 2 only
                                                                       D Disputed
            D Debtor 1 and Debtor 2 only                               Type ofNONPRIORIW unsecured claim:
            D At least one of the debtors and another                  D Student loans
            D Check ifthis claim is for a community debt               D Obligationsarisingoutofa separationagreementordivorcethatyoudidnot
            Is the claim subject to offset?                            report as priority claims
                No                                                     D Debtsto pension or profit-sharing plans, andother similar debts
            a Yes                                                          Other. Specify CREDIT

 4. 13      KOHLS DEPARTMENTSTORE                                      Last4 digits of account number         1000                                           $2, 680. 00
            Nonpriority Creditor's Name
            PO BOX 3115                                                When was the debt incurred?            04/01/19
            Milwaukee, Wl 53201
            Num r Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
                                                                       D Contingent
               Debtor 1 only
                                                                           Unliquidated
           D Debtor 2 only
                                                                       D Disputed
           D Debtor1 and Debtor2 only                                  Type of NONPRIORIT/ unsecured claim:
           D At least one ofthe debtors and another                    D Student loans
           D Check ifthis claim is for a community debt                D Obligations arising out ofa separation agreement or divorce that you did not
           Is the claim subject to offset?                             report as priority claims
               No                                                      D Debts to pension or profit-sharing plans, and other similar debts
           D Yes                                                          Other. Specify     CREDIT




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  4. 14      MACYS                                                      Last 4 digits of account number        1000                                        $310.00
             Nonpriority Creditor's Name
             PO BOX 8218                                               Whenwasthe debt incurred?               05/01/19
             Mason, OH 45040
             Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
             Who incurred the debt? Check one.
                                                                        D Contingent
                 Debtor 1 only
                                                                           Unliquidated
             D Debtor2 only
                                                                        D Disputed
             D Debtor 1 and Debtor 2 only                              Type of NONPRIORITY unsecured claim:
             D At least one of the debtors and another                  D Student loans
             D Check ifthis claim is for a community debt              D Obligationsarisingoutofa separationagreementordivorcethatyou'didnot
            Is the claim subject to offset?                            report as priority claims
                No                                                     D Debtsto pensionorprofit-sharingplans,andothersimilardebts
             D Yes                                                         Other Specify CREDIT

  4. 15     SYNCB/AMAZON                                               Last 4 digits of account number        1000                                        $959.00
            Nonpriority Creditor's Name
            PO BOX 965015                                              Whenwasthe debtincurred?               04/01/19
            Oriando, FL 32896
            Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.
                                                                       D Contingent
                Debtor 1 only
                                                                       In Unliquidated
            D Debtor 2 only
                                                                       D Disputed
            a Debtor1 andDebtor2 only                                  Type of NONPRIORITVunsecuredclaim:
            D At least one ofthe debtors and another                   D Student loans
            D CheckIfthisclaimisfora communitydebt                     D Obligations arisingoutofa separation agreement ordivorcethaiyou didnot
            Is the claim subject to offset?                            report as priority claims
            EBNO                                                       D Debts to pension or profit-sharing plans, and other similar debts
            D Yes                                                          Other. Specify CREDIT

 4. 16      SYNCB/CARECREDIT                                           Last 4 digits of account number        UNTS                                     $2, 882. 00
            Nonpriority Creditor's Name
            PO BOX 965036                                              When was the debt incurred?            03/01/20
            Orlando, FL 32896
            Numtsr Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
           Who Incurred the debt? Check one.
                                                                       D Contingent
                Debtor 1 on!y
                                                                       D Unliquidated
            D Debtor2 only
                                                                       D Disputed
            D Debtor 1 and Debtor 2 only                       'i      Type of NONPRIORIT/unsecured claim:
            D At least one of the debtors and another                  a Student loans
            D Check ifthis claim is for a community debt               D Obligationsarisingoutofa separationagreementordivorcethatyoudidnot
           Is the claim subject to offset?                             report as priority claims
            iBNo                                                       D Debts to pension or profit-sharing plans, and other similar debts
            D Yes                                                      S Other. Specify CREDIT




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  4. 17      SYNCB/EBAY                                                 Last 4 digits of account number        1000                                            $5, 088. 00
             Nonpriority Creditor's Name
             PO BOX 965013                                              Whenwasthe debt incurred?              04/01/19
             Orlando, FL 32896
             Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.
                                                                        D Contingent
                Debtor 1 only
                                                                        D Unliquidated
             D Debtor 2 only
                                                                        D Disputed
             D Debtor 1 and Debtor 2 only                              Type of NONPRIORinr unsecured claim:
            D At least one of the debtors and another                  D Student loans
            D Check ifthis claim is for a community debt                D Obligations arising out ofa separation agreement or divorce that you did not
            Is the claim subject to offset?                            report as priority claims
                No                                                      D Debts to pension or profit-sharing plans, andother similar debts
            D Yes                                                          Other. Specify CREDIT

   MS I     SYNCB/PPC                                                  Last 4 digits of account number        UNTS                                           $11, 150. 00
            Nonpriority Creditor's Name
            PO BOX 965005                                              Whenwasthe debt incurred?              03/01/19
            Orlando, FL 32896
            Number Street City State Zip Code                          As of the date you file, the claim is: Check alt that apply
            Who incurred the debt? Check one.
                                                                       D Contingent
                Debtor 1 only
                                                                       D Unliquidated
            D Debtor 2 only
                                                                       D Disputed
            D Debtor 1 and Debtor 2 only                               Type of NONPRIORITYunsecured claim:
            D At least one of the debtors and another                  D Student loans
            D Check if this claim is for a community debt              D Obligationsarisingoutofa separationagreementordivorcethatyoudidnot
            is the claim subject to offset?                            report as priority claims
            ^ No                                                       D Debtstopensionorprofit-sharingplans,andothersimilardebts
            D Yes                                                      m Other.Specify OLD NAVY, LOWES,GAP

 4. 19      TBOM/CONTFIN                                               Last 4 digits of account number        1000                                            $1, 151. 00
            Nonpriority Creditor's Name
            PO BOX 8099                                                Whenwasthe debt incurred?              06/01/20
            Newark, DE 19714
            Nupiiber. Street City State Zip Code                       As of the date you file, the claim is: Checkall thatapply
           Who incurred the debt? Check one.
                                                                       D Contingent
               Debtor 1 only
                                                                       U Unliquidated
            D Debtor2 only
                                                                       D Disputed
            D Debtor 1 and Debtor 2 only                               Type of NONPRIORITY unsecured claim:
            D At least one ofthe debtors and another                   D Student loans
            D Check ifthis claim is for a community debt               D Obligations arising out ofa separation agreement ordivorce that you did not
           Is the claim subject to offset?                             report as priority claims
               No                                                      D Debts to pension or profit-sharing plans, and other similar debts
           D Yes                                                          Other. Specify CREDIT




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  4. 20     TD BANK USA                                                Last 4 digits of account number       1000                                                   $1,946.00
            Nonpriority Creditor's Name
            PO BOX 673                                                 When was the debt incurred?           04/01/19
            Minnea olis, MN 55440
            Number Street City State Zip Code                         As of the date you file, the claim is: Checkall thatapply
            Who incurred the debt? Check one.
                                                                       D Contingent
                Debtor 1 only
                                                                            Unliquidated
            D Debtor2 only
                                                                       D Disputed
            D Debtor 1 and Debtor 2 only                              Type of NONPRIORITY unsecured claim:
            D At least one ofthe debtors and another                   D Student loans
            D Check if this claim is for a community debt             D Obligationsarisingoutofa separationagreementordivorcethatyoudidnot
            Is the claim subject to offset?                           report as priority claims
                No                                                    D Debts to pension or profit-sharing plans, and othersimilar debts
            D Yes                                                           Other. Specify CREDIT

  4. 21     US BANK                                                   Last 4 digits of account number        1000                                                   $1, 083. 00
            Nonpriority Creditor's Name
            PO BOX 108                                                Whenwasthe debt incurred?              04/01/19
            Saint Louis, MO 63116
            Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who Incurred the debt? Check one.
                                                                      D Contingent
                Debtor 1 only
                                                                            Unliquidated
            D Debtor 2 only
                                                                      D Disputed
            D Debtor 1 and Debtor 2 only                              Type of NONPRIORITY unsecured claim:
            D At least one of the debtors and another                 D Student loans
            D Checkifthisclaimisfora communitydebt                    D Obligationsarisingoutofa separationagreementordivorcethatyoudidnot
           Is the claim subject to offset?                            report as priority claims
                No-                                                   D Debtsto pensionorprofit-sharingplans,andothersimilardebts
           D Yes                                                           Other; Specify CREDIT

                      Others to Be Notified About a Debt That You Alread Listed
5. Usethis pageonly ifyou haveothersto be notifiedaboutyourbankruptcy,fora debtthatyou alreadylisted in Parts 1 or 2. Forexample, ifa collection agencyis
   trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you have
   more thanonecreditorforanyofthedebtsthatyou listed in Parts 1 or 2, listtheadditionalcreditors here. Ifyou do not haveadditionalpersonsto benotifiedfor
   any debts in Parts 1 or 2, do not fill out or submitthis page.

UEEE?^AddtheAmountsforEachTypeof UnsecuredClaim
6. Total theamountsofcertaintypes ofunsecuredclaims. This information is forstatistical reportingpurposesonly. 28 U.S.C.§159.Addtheamountsforeachtype
   of unsecured claim.

                                                                                                                                    Total Claim
                        6a.     Domestic support obligations                                                 6a.                                      0. 00
 Total claims
 from Part 1            6b      Taxes and certain other debts you owe the government                         6b.                                      0. 00
                        6c.     Claims for death or personal injury while you were intoxicated               6c.                                      0.00
                        6d.     Other. Add all other priority unsecured claims. Write that amount here.      6d.                                      0.00

                        6e.     Total Priority. Add lines 6a through 6d.                                     6e.                                      0.00

                                                                                                                                    Total Claim
                        6f.     Student loans                                                               6f.                                       0.00
 Totdl claims
 from Part 2            6g.     Obligations arising out of a separation agreement or divorce that you
                                did not reportas priorityclaims                                             69-                                       0.00
                        6h.     Debts to pension or profit-sharing plans, and other similar debts           6h.                                   0. 00
                        6i.     Other. Add all other nonpriority unsecured claims. Write that amount here. 6i.                               85 516.00
                                                                                                                                                  ,




                        6j.   Total Nonpriority. Add lines 6f through 6i.                                   6j.                              85, 516. 00



Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 8 of 8
Software Copyright (c) 1996-2021 Best Case, LLC-www. bestcase. com                                                                                            Best Case Bankruptcy
               Case 4:21-bk-01324-BMW                            Doc 6 Filed 02/23/21 Entered 02/24/21 10:32:28                                                Desc
                                                                Main Document    Page 19 of 34
        in this information to identify your case:

                            MORGAN LEWIS
                            First Name                         MiddleName             Last Name

  Debtor 2
  (Spouse if, filing)       First Name                         Middle Name            Last Name


  United States Bankruptcy Court for the:                DISTRICT OF ARIZONA

  Case number
  (if known)                                                                                                                     D Check if this is an
                                                                                                                                   amended filing



 Official Form 106G
 Schedule G: Execute                                     Contracts and Unex ired Leases                                                              12/15
 Be as complete and accurate as possible. Iftwo married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, copy the additional page, fill it out, numberthe entries, and attach it to this page. On the top of any
 additional pages, write your name and case number (if known).

 1,     Do you have any executory contracts or unexpired leases?
            No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        D Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B'. Pmperty (Official Form 106A/B).
2.      List separately each person or company with whom you have the contract or lease. Then state whateach contract or lease is for (for
        example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples ofexecutory contracts
        and unexpired leases. .


        Person or company with whom you have the contract or tease                      State whatthe contract or lease is for
                           Name. Number, Street, City State and ZIP Cods


           Name



           Number       Street


           Ci                                        State                 ZIP Code

           Name .



           Number       Street

          d                                          State                 ZIP Code
  2.3
          Name



          Number        Street

          d                                          State                 ZIP Code
  2.4
          Name



          Number        Street


          City'                                      State                 ZIPCode
  2.5
          Name



          Number        Street


          City                                       State                 ZIPCode"




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                           Page 1 of 1
Software Copyright (c) 1996-2021 Best Case, LLC - www. bestcase. com                                                                        Best Case Bankruptcy
                 Case 4:21-bk-01324-BMW                            Doc 6 Filed 02/23/21 Entered 02/24/21 10:32:28                            Desc
                                                                  Main Document    Page 20 of 34
  Fill in this information to identify your case:

  Debtor 1                     MORGAN LEWIS
                               First Name                           Middle Name          Last Name

  Debtor 2
  (Spouse if, filing)          First Name                           Middle Name          Last Name


  United States BankruptcyCourt for the:                     DISTRICTOFARIZONA

  Case number
  (if known)                                                                                                                       [] Check if this is an
                                                                                                                                      amended filing

 Official Form 106H
 Schedule H: Your Codebtors                                                                                                                             12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and numberthe entries in the boxes on the left. Attach the Additional Pageto this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

            No
       D Yes .,

       2. Within the last 8 years, have you lived in a community property state or territory? [Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

       D No, Go to line 3. -
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

                 D No
                        Yes.


                          in which community state or territory did you live?            -NONE-           Fill in the name and current address ofthat person.


                          Name of your spouse, former spouse, or Isgal equivalent
                          Number, Street, City, State & Zip Code


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line'? again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F(Official Form 106E/F), or ScheduleG (Official Form 106G). Use Schedule D, Schedule E/F, or ScheduleG to
      fill out Column 2.

                Column 1: Your eoctebtor                                                                 Colamfi2: Thecreditor to whom yoii owethe debt
               Name, Number Street, City, State andZIP Code                                             Check all scftedulss that apply:

                                                                                                         D Schedule D, line
                 Name
                                                                                                         D Schedule E/F, line
                                                                                                         D ScheduleG, line
                 Number              Street
                 City                                       State                        ZIP Code



   ^2]                                                                                                   D Schedule D, line
                                                                                                         D Schedule E/F, line
                                                                                                         D Schedule G, line
                 Number              Street
                 City                                       State                        ZIPCode




Official Form 1061-t                                                                Schedule H: Your Codebtors                                     Page 1 of 1
Software Copyright (c) 1996-2021 Best Case, LLC - www. bestcase. com                                                                           Best Case Bankruptcy
               Case 4:21-bk-01324-BMW                                  Doc 6 Filed 02/23/21 Entered 02/24/21 10:32:28                           Desc
                                                                      Main Document    Page 21 of 34
      ill    this information    identi your case.

  Debtor 1                      MORGAN LEWIS

  Debtor 2
 (Spouse, if filing)

 United States Bankruptcy Court for the:         DISTRICT OF ARIZONA

 Case number                                                                                            Check if this is:
 (If known)
                                                                                                        D An amended filing
                                                                                                        D A supplement showingpostpetition chapter
                                                                                                            13 income as ofthe following date:
 Official Form 1061                                                                                         MM/DD/YYYY
 Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. Ifyou are marriedand notfilingjointly, andyourspouse is living withyou, include informationaboutyour
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.
                       Describe Em lo ment

 1          Fill in your employment
            information.

            If you have more than one job,                           D Employed                               D Employed
            attach a separate page with        Employment status
            information about additional                                  Not employed                        D Notemployed
            employers,
                                               Occupation
            Include part-time, seasonal, or
            self-employed work.                Employer's name

            Occupation may include student Employer's address
            or homemaker, if it applies.


                                               How long employed there?

 Part 2-               Give Details About Month! Income

Estimate monttily income as of the date you file this form. if you have nothing to report for any line, write $0 in the space. Include your hon-filing
spouse unles^you are separated. .                                                        '"                                 ,;
Ifyou or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.




            List monthly gross wages, salary, and commissions (before all payroll
 2- deductions). If not paid monthly, calculate what the monthly wagewould be.              2.    $             0.00        $            N/A

 3.         Estimate and list monthly overtime pay.                                         3.   +$ ,           0. 00       +$           N/A

4.          Calculate gross Income. Add line 2 + line 3.                                    4.    $          0.00               $     N/A




            Case
Official Form 1061         4:21-bk-01324-BMW                Doc 6 Filed 02/23/21
                                                                     Schedule            Entered 02/24/21 10:32:28
                                                                              I: Your Income                                             Descpage 1
                                                           Main Document     Page 22 of 34
  Debtor1    MORGAN LEWIS                                                                          Case number (if known)




        Copy line 4 here                                                                    4. $

  5.    List all payroll deductions:
       5a.    Tax, Medicare, and Social Security deductions                                 5a.     $              0.00     $              N/A
       5b.    Mandatory contributions for retirement plans                                  5b.     $              0.00     $              N/A
       5c.    Voluntary contributions for retirement plans                                  5c.     $              0.00     $-             N/A
       5d.     Required repayments of retirement fund loans                                 5d.     $              0. 00    $              N/A
       5e.     Insurance                                                                    5e.     $              0.00   $                N/A
       5f.    Domestic support obligations                                                  5f.     $              0.00   $                N/A
       5g.    Union dues                                                                    sg.     $              0.00   s                N/A
       5h.    Other deductions. Specify:                                                    5h.+    $-             0.00 + $                N/A
 6.    Add the'payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       5.     $               0.00     $              N/A
 7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $               0.00     $              N/A
 8.    List all other income regularly received:
       8a.    Net income from rental property and from operating a business,
              profession, or farm
              Attach a statement for each property and business showing gross
              receipts, ordinary and necessary business expenses, and the total
              (nonthly net income.                                                          8a.                    0. 00^   $              N/A
       Sb.    Interest and dividends                                                        Sb. $                  0.00     $              N/A
       8c.    Family support payments that you, a non-filing spouse, or a dependent
              regularly receive
              Include alimony, spousal support, child support, maintenance, divorce
              settlement, and property settlement.                                          8c. $                 0.00      $              N/A
       8d.    Unemployment compensation                                                     8d. $                 0.00      $              N/A
       8e.    Social Security                                                               8e. $                 0. 00     $              N/A
       8f.    Other government assistance that you regularly receive
              Include cash assistance and the value (if known) of any non-cash assistance
              that you receive, such as food stamps (benefits under the Supplemental
              Nutrition Assistance Program) or housing subsidies.
              Specify;                                                                      8f.                   0.00 $                   N/A
       8g.    Pension or retirement income                                                                        0.00 $                 N/A
       8h.    Other monthly income. Specify:                                                8h.+                  0.00 + $               N/A

 9.    Add al! other income. Add !ines8a+8b+8c+8d+8e+8f+8g+8h.                                                    0.00 $                   N/A

 10. Calculate monthly income. Add line 7 + line 9.                                      10. $               0.00 +              N/A = $           0.00
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
 11. State all other regular contributions to the expenses that you list in Schedule J.
     Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
       other friends or relatives.
       Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
       Specify:                                                                                                                 11. +$            0.00

 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
       Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
       applies                                                                                                                   12. $            0.00
                                                                                                                                     Combined
                                                                                                                                     monthly income
 13. Do you expectan increase or decrease within the year afteryou file this form?
     H     No.
       D         Yes. Explain:




            Case
Official Form 1061     4:21-bk-01324-BMW              Doc 6 Filed 02/23/21
                                                               Schedule            Entered 02/24/21 10:32:28
                                                                        I: Your Income                                                     Descpage 2
                                                     Main Document      Page 23 of 34
     Fill in this information to identify your case.

  Debtor 1                 MORGAN LEWIS                                                                          Check if this is:
                                                                                                                 D An amended filing
  Debtor 2                                                                                                       D A supplement showingpostpetition chapter
  (Spouse, if filing)                                                                                              13 expenses as ofthe following date;
  United States Bankruptcy Court for the:    DISTRICT OF ARIZONA                                                       MM / DD / YYYY

 Case number
 (If known)



 Official Form 106J
 Schedule J: Your Ex enses                                                                                                                               12/15
 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
 number (if known). Answer every question.

                 Describe Your Household
 1.       I: this a joint case?
               No. Go to line 2.
          D Yes. DoesDebtor2 live in a separatehousehold?
                   D No
                   D Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
 2.       Do you have dependents?           D No
         Do not list Debtor 1                          Fill out this information for   Dependent's relationship to       Dependent's    Does dependent
                                               Yes.
         and Debtor 2.                                 each dependent..............    Debtor 1 or Debtor 2              age            live with you?

         Do not state the                                                                                                               D No
         dependents names.                                                             SON                               17                Yes
                                                                                                                                        a No
                                                                                                                                        D Yes
                                                                                                                                        D No
                                                                                                                                        D Yes
                                                                                                                                        D No
                                                                                                                                        D Yes
 3.      Do your expenses include                      No
         expenses of people other than
         yourself .and your dependents?
                                                   D Yes

                 Estimate Your Ongoing Monthly Expenses
 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
 applicable date.

 Include expenses paid for with non-cash government assistance if you know
 the value of such assistance and have included it on Schedule I: Your Income
 (Official Form 1061.)

 4       The rental or home ownership expenses for your residence. Include first mortgage
         payments andany rentforthe groundor lot.                                                               4. $                             0. 00

         If not included in line 4:

         4a.     Real estate taxes                                                                            4a. $                            0. 00
         4b.     Property, homeowner's, or renter's insurance                                                 4b. $                            0.00
         4c.     Home maintenance, repair, and upkeep expenses                                                4c. $                            0.00
         4d.     Homeowner's association or condominium dues                                                  4d. $                            0.00
5.       Additional mortgage payments for your residence, such as home equity loans                             5. $                           0.00




Official Form 106J                                                       Schedule J: Your Expenses
            Case 4:21-bk-01324-BMW                           Doc 6 Filed 02/23/21 Entered 02/24/21 10:32:28                                      Desc page 1
                                                            Main Document    Page 24 of 34
  Debtor 1      MORGAN LEWIS                                                                      Case number (if known)

      Utilities:
      6a. Electricity, heat, natural gas                                                               6a. $                                 0.00
      6b. Water, sewer, garbage collection                                                             6b. $                                ^. 00^
      6c. Telephone, cell phone, Internet, satellite, and cable services                               6c. $                                 0.00
      6d. Other. Specify:                                                                              6d. $                                 0.00
  7.  Food and housekeeping supplies                                                                    7. $                                 0.00
  8.  Childcare and children's education costs                                                          8. $                                 0.00
  9.  Clothing, laundry, and dry cleaning                                                               9. $                                 0.00
  10. Personal care products and services                                                              10. $                                 0.00
  11. Medical and dental expenses                                                                      11. $                                 0.00
  12. Transportation. Include gas, maintenance, bus or train fare.
        Do not includecarpayments                                                                      12. S                                 0. 00
 13.   Entertainment, clubs, recreation, newspapers, magazines, and books                              13. $                                 0.00
 14.   Charitable contributions and religious donations                                                14. $                                 0.00
 15.    insurance.
        Do not include insurance deducted from your pay or included in lines 4 or 20.
        15a. Life insurance                                                                          15a. $                                 0.00
        15b. Health insurance                                                                        15b. $                                 0. 00
       15c.     Vehicle insurance                                                                     15c. $                                0.00
     15d. Other insurance. Specify:                                                                  15d. $                                 0.00
 16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
     Specify:                                                                                          16. S                                0.00
 17. Instailment or lease payments:
     17a. Car payments for Vehicle 1                                                                 17a. $                                 0.00
     17b. Car payments for Vehicle 2.                                                                17b. $                                 0. 00
     17c. Other. Specify:                                                                            17c. $                                 0.00
     17d. Other. Specify: . ,                                                                        17d. $                                 0.00
 18. Your payments of alimony, maintenance, and support that you did not report as
       deductedfrom yourpayon line5, ScheduleI,YourIncome(OfficialForm 1061).                          18 $                                 0.00
 19, Other payments you make to support others who do not live with you. $                                                                  0.00
     Specify:                                                                              19.
 20. Other reai property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
     20a. Mortgages on other property                                                     20a. $                                            0.00
     20b. Real estate taxes                                                               20b. $                                            0. 00
     20c Property, homeowner's, or renter's insurance                                     20c. $                                            0. 00
     20d. Maintenance, repair, and upkeep expenses                                        20d. $                                            0.00
     20e. Homeowner's association or condominium dues                                     20e. $                                            0. 00
 21. Other Specify;                                                                        21. +s                                           0. 00
 22. Calculate your monthly expenses
     22a. 'W lines 4 through 21.                                                                               $                         0.00
       22b Qopy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2
       22c. Add line 22a and 22b. The result is your monthly expenses.                                                                   0.00
 23.   Calculate your monthly net income.
       23a. Copy line 12 fyour combined monthly income) from Schedule I.                             23a. S                                 0. 00
       23b. Copy your monthly expenses from line 22c above.                                          23b. -$                                0.00

       23c. Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                   23c. $                                 0.00

 24.   Do you expect an increase or decrease in your expenses within the year after you file this form?
       For example, do you expectto finish payingforyourcarloan withintheyearor doyou expectyour mortgage paymentto increaseor decreasebecauseof a
       modification to the terms of your mortgage?
          No.
       D Yes.             I Explain here:




Official Form 106J
          Case 4:21-bk-01324-BMW                      Doc 6Schedule
                                                              FiledJ:02/23/21
                                                                     Your Expenses
                                                                                  Entered 02/24/21 10:32:28                                 Desc page 2
                                                     Main Document       Page 25 of 34
  Fill in this information to identify your case.

                            MORGAN LEWIS
                            First Name                         Middle Name             Last Name

  Debtor 2
  (Spouse if, filing)       First Name                         Middle Name             Last Name


  United States Bankruptcy Court for the:                DISTRICT OF ARIZONA

  Case number
  (if known)                                                                                                                         D Check if this is an
                                                                                                                                       amended filing



 Official Form 106Dec
 Declaration About an Individual Debtor's Schedules                                                                                                          12/15

 If two married people are filing together, both are equally responsible for supplying correct information.

You must fil^his form whenever you file bankruptcy schedules or amended schedu'es. Making a false statement, concealing property, or
obtaining m<j»(iey or property by fraud in connection with a bankruptcy case can result in fines up to $250, 000, or imprisonment for up to 20
years, or both. 18 U. S.C. §§ 152, 1341, 1519, and 3571.


                    Sign Below


         Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

         D      No
         B      Yes. Name of person           MARK BLUEMKE                                                        Atiach Bankruptcy Petition Preparer's Notice,
                                                                                                                  Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct,


               MORGAN LEW                                                                 Signature of Debtor 2
               Signature of Debto 1

               Date ^|^A03l\                                                              Date




Official Form 106Dec                                         Declaration About an Individuai Debtor's Schedules
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                                                                  Main Document    Page 26 of 34
  Fill in this information to identify your case:

  Debtor 1                  MORGAN LEWIS
                            First Name                          Middle Name                   Last Name

  Debtor 2
  (Spouse if, filing)       First Name                          Middle Name


  United States Bankruptcy Court for the:                 DISTRICT OF ARIZONA

  Case number
  (if known)                                                                                                                               D Check if this is an
                                                                                                                                             amended filing



 Official Form 107
 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                4/19
 Be as complete and accurateas possible. Iftwo married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, attach a separate sheetto this form. On the top of any additional pages, write your name and case
 number (if known). Answer every question.

E££I3EljS3GiveDetailsAboutYourMaritalStatusandWhereYouLivedBefore _                                                               __
 1.    What is your current marital status?

       B       Married
       D       Not married

2.     Durin9 the last 3 years, have you lived anywhere other than where you live now?

       S       No
       D Yes. Listall ofthe placesyou lived in the last 3 years. Do not includewhereyou live now.
           Debtor 1 Prior Address:                                  Dates Debtor 1               Debtor2 PriorAddress:                            Dates Debtor 2
                                                                    lived there                                                                   lived there

3. Withinthe last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states andterritories includeArizona, California, Idaho, Louisiana, Nevada, NewMexico, Puerto Rico, Texas, Washington and Wisconsin.)

       D       No
       .   J Yes. Makesure you fill out ScheduleH:.YourCodebtors(OfficialForm 106H).

                 Explain the Sources of Your Income

4.     Did you have any incomefrom employment or from operating a business during this year or the two previous calendaryears?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

       H       No
       D       Yes. Fill in the details.

                                                      De&tor 1                                                         Debtor 2
                                                      Sources of income                 Gross income                   Sources of income
                                                      Check all that apply.             (feefore cteducttens afKt
                                                                                        exclusions)




Official Form 107                                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 1
Software Copyright (c) 1996-2021 Best Case, LLC - www. besicase. c6in                                                                                 Best Case Bankruptcy
               Case 4:21-bk-01324-BMW                               Doc 6 Filed 02/23/21 Entered 02/24/21 10:32:28                                     Desc
                                                                   Main Document    Page 27 of 34
     Debtor 1     MORGAN LEWIS                                                                               Case number (ifknown)



 5.     Did you receive any other income during this year or the two previous calendar years?
        Include income regardless ofwhetherthat income is taxable. Examplesof o^er/ncome are alimony; child support; Social Security,
        unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
        gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1

        List each source and the gross income from each source separately. Do not include income that you listed in line 4.

                No
        D       Yes. Fill in the details.

                                                      Debtor 1                                                     DebtorZ
                                                      Sources of income             Gross income from              Sources of income              Gross income
                                                      Describe betow.               each source                    Descn&e below.                 (before deductions
                                                                                                                                                  and exclusions)
                                                                                    excfusions)

                 List Certain Pa merits You Made Before You Filed for Bankruptc

 6.     Are either, D
                    . ebtor 1 's or Debtor 2's debts primarily consumer debts?
        D       No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U. S. C: § 101(8) as "incurred by an
                          individual primarily for a personal, family, or household purpose."

                          During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?
                          D No.       Go to line 7.
                     ^ D Yes          List beloweach creditorto whom you paid a total of $6, 825* or more in one or more payments and the total amount you
                     r'               paid that creditor. Do not include payments for domesticsupport obligations, such as child support and alimony. Also, do
                                      not include payments to an attorney for this bankruptcy case.
                          * Subject to adjustment on 4/01/22 and every 3 years afterthat for cases filed on or afterthe date of adjustment.
            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                              No.     Go to line 7.
                          a Yes       List beloweach creditorto whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                      include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to
                                      an attorney for this bankruptcy case.


        Creditor's Name and Address                              Dates of payment .         Total amount          Amount you         Was this payment for..
                                                                                                      fiald         still owe

7.     Within l^ar before you filed for bankruptcy, did you make a payment on a debt you owed anyonewho was an insider?
       Insiders ijtelude your relatives; any general partners; relatives of any general partners; partnerships ofwhichyou are a general partner;
       corporaWrts ofwhichyou are an officer, director, person in control, or owner of20% or more oftheir voting securities; and any managingagent,
       including Onefor a businessyou operate as a sole proprietor. 11 U. S. C. § 101. Include paymentsfordomestic support obligations, such as child
       support and alimony.

            No
       D    Yes, List all payments to an insider.
        Insider's Name and Address                                                          Total amount          Amoynl you
                                                                                                      paid          still owe

8.     Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
       insider?
       Include payments on debts guaranteed or oosigned by an insider.

            No .
       D    Yes. List ail payments to an insider
        Insider's Name and Address                               Dates or payment                                                    Reason for this payment
                                                                                                                           owe       (nchaete eretita-'s name




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               Identi Le al Actions, Repossessions, and Foreclosures

 9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
       List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
       modifications, and contract disputes.

             No
       D     Yes. Fill in the details.
        Case title                                                Nature of the case                                                Status of the case
        Case number

 10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
       Check all that apply and fill in the details below.

             No. Go to line 11.
       D     Yes. Fill in the information below.
        CreditorName and Address                                  Describe the Property                                     Date                         Valueof the
                                                                                                                                                            property
                                                                  Explain what happened

 11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
      accounts or refuse to make a payment because you owed a debt?
          No
      D      Yes. Fill in the details. '
       Creditor Name and Address                              Describethe action the creditor took                          Date action was                  Amount
                                                                                                                            taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
      court-appointed receiver, a custodian, or another official?
      B     No
      D     Yes

              List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
    -.1 , No
    D Yes. Fill in the details for each gift.
       Gifts w{th a total value of more than $600                     Describe the gifts                                    Dates you gave                     value
       per person

       Person to Whom You Save the Gift and


14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
            No
      D Yes. Fill in the detailsforeachgiftor contribution.
       Gifts or contributions to charities that total                 Describe what you contributed                         Dates you                          Value
       more than $600                                                                                                       contributed
       Charity's Name
       Address (Number,Street,City,StateandZIPCode)

13ESS53 List Certain Losses

15 Within I year before you filed for bankruptcy or since you filed for bankruptcy, did you iose anything becauseof theft, fire, other
      disaster, or gambling?

      ^     Nd
      D     Yes. Fill in the details.
       Describe the property you tost and                Describe any insurance coverage for the loss                       Date of your         Vatue of property
       how the loss occurred                                                                                                loss                              tost
                                                         Inclucte the amount that insarance has paid. List
                                                         pending insurancectaims on line 33 of SchectufeA/B:
                                                         Property.

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    1--            List Certain Pa ments or Transfers

    16. Within I year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
           consulted about seeking bankruptcy or preparing a bankruptcy petition?
           Include any attorneys, bankruptcypetition preparers, orcredit counseling agenciesfor services required in your bankruptcy.

           a      No
           te     Yes. Fill in the details.
           Person Who Was Paid                                            Description and value of any property                    Date payment                Amount of
           Address                                                        transferred                                              or transfer was              payment
           Email or website address                                                                                                made
           Person Who Made the Payment, if Not You
           AFFORDABLE DOCUMENTS AZ LLC                                                                                             02-12-21                      $200. 00
           GO E RIO SALADOPKWY
           SUITE 900
           Tempe, AZ 85281


   17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
          promised to help you deal with your creditors or to make payments to your creditors?
          Dp not include any payment or transfer that you listed on line 16.

                  No -.
          D . Yes. Fill in the details:
           Person Who Was Paid                                            Description and value erf any property                                              ArnoHHtof
           Address                                                        transferred                                              or transfer was
                                                                                                                                   made

*. 18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
          transferred in the ordinary course of your business or financial affairs?
          include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
          include gifts and transfers that you have already listed on this statement.
          »     No
          D     Yes. Fill in the details.
           Person Who Received Transfer                                  Description and value of                    Descrioe any property or        Date transfer was
          Address                                                        property transferred                        payments received or debts      made
                                                                                                                     paid in exchange
           Person's relationship to you, .

   19. Within 10yeare^efore you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device ofwhich you are a
          beneficiary? (These are often called asset-protection devices. )                              .                    ' .
          tei No-: ,-.                                   '
          D     Yes. Fill in the details.
          Name of trust                                                  Description and value of the property transferred                           Date Transfer was
                                                                                                                                                     made

                  List of Certain Financial Accounts, Instruments Safe De osit Boxes, and Stora e Units

   20. Within 1 yiear before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
          sold, moved, or transferred?
          Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
          houses, pension funds, cooperatives, associations, and other financial institutions.
          H     No
          D     Yes. Fill in the details.
          Name of Financia! institution and                          Last 4 digits of           Type &faccount or            Date account was               Last balance
          Address (tlunnber, Street,City,StateandZIP                 account RUmfeeF            instrument                   closed, sold,               ore closing or
          Code)                                                                                                              moved, or                           transfer
                                                                                                                             transferred




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 21     Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
        cash, or other valuables?


               No
        D      Yes. Fill in the details.
         Name of Financial Institution                                      Whoelse had access to it?              Describethe contents           Do you still
         Address (Number,Street,City,StateandZIPCode)                       Address (Number,Street,City,                                          have it?
                                                                            State andZIPCode)

 22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

       S       No ,
        D      Yes. Fill in the details.
        Name of Storage Facility                                           Whoelse has or had access               Describethe contents          Do you still
        Address (Number. Street, City, State and ZIP Code)                 to it?                                                                have it?
                                                                           Address (Number,Street,City,
                                                                           State andZIP Cads)

                Identi    Pro e        You Hold or Control for Someone Else

 23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
       for someone. . '


       H     No
       a     Yes. Fiii in the details;
        Owner's Name                                                       Where is the property?                  Describethe property                        Value
        Address (Number, Street, City, State andZIPCode)                   (Number, Street, City, StateandZIP
                                                                           Cpdei

.   semiiB Give Details About Environmental Information
 For the purpose of Part 10, the following definitions apply:

       environmental law means anyfederal, state, or local statute or regulation concerning pollution, contamination, releases of hazardousor
       toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
       regulations controlling the cleanup of these substances, wastes, or material.
       S/te means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
       to own, operate, or utilize it, including disposal sites.
B Hazardousmaterialmeansanythinganenvironmental lawdefinesasa hazardouswaste,hazardoussubstance,toxicsubstance,
       hazardous material, pollutant, contaminant, or similar term.

Report all notBes, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

             No
       D     Yes. Fill in the details.
       Name of site                                                        Governmental unit                         Environmental law, if you   Date of notice
       Address (Number, Street,City,StateandZIPCade)                       Address (Number,Street,City, Stateand     know it
                                                                           ZIP Bads)

25. Have you notified any governmental unit of any release of hazardous material?

             No
      D      Yes. Fill in the details.
       Name of site                                                        Governmental u nit                        Environmental law, if you   Date of notice
       Address (Number, Street, City, State andZIPCutte)                   Address (Number,Street,City, Stateand     know it
                                                                       .
                                                                           gpcotto)




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 26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

               No
        D     Yes. Fill in the details.
        Case Title                                                         Court or agency                   Natureof the case                    Status of the
        Case Number                                                        Name                                                                   case
                                                                           Address (Number,Straet. C-rty,
                                                                           State and ZIP Code)


  Part 11: Give Details About Your Business or Connections to Any Business

 27. Within4 years before you filed for bankruptcy, did you own a business or haveany of the following connections to any business?
              D A sole proprietoror self-employed in a trade, profession, or otheractivity, eitherfull-time or part-time
                    A member of a limited liability company (LLC) or limited liability partnership (LLP)

              D A partner in a partnership
              D An officer, director, or managingexecutiveofa corporation
              D An owner of at least 5% of the voting or equity securities of a corporation
       a      No. None of the above applies. Go to Part 12;
       -I Yes. Check all that apply above and fit! in the details below for each business.
        Business Name ^,                                               Describethe nature of the business         Employ&tIdentification number
        Address                                                                                                   Do not includeSocial Security numberor IT1N.
        (Number, Street, Cfty, StateandZIPOotlet                       Name of accountant or bookkeeper
                                                                                                                  Dates business existed
        EXPRESSTILE LLC                                                TILEINSTALL                                EIN:       1000

                                                                                                                  From-To    08-2-20


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
       institutions, creditors, or other parties.

       »      N6
       D . Yes. Fill in the details below.
        Name                                                       Date Issued
        Address
        (Nuinbar, Stte»t» Stty, State and ZtP Ccide)

 Part 12:

I have read the answers on this Statement of FinancialAffairsand any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. § 152, 1341, 1519, and 3571 .


 MORGAN LEWI-                                                                 Signature of Debtor 2
 Signature of Debtor 1

 Date S [y^\ ^^ ' <                                                           Date

Did you attach additional pages to Your Statement of FinancialAffairsfor IndividualsFiling for Bankruptcy {OWciafForm 107)?
S No
D Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
D No
B Yes. NameofPerson_MARK BLUEMKE                                       Attachthe BankruptcyPetitionPreparersNotice, Declaration,andSignature(OfficialForm 1 19).



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               this information to identify your case:

     Debtor 1                       MORGAN LEWIS
                                    First Name                    Middle Name                Last Name

     Debtor 2
     (Spouse if, filing)            First Name                    Middle Name                Last Name


     United States Bankruptcy Court for the:                DISTRICT OF ARIZONA

     Case number
     (if known)                                                                                                                     D Check if this is an
                                                                                                                                      amended filing



    Official Form 108
    Statement of Intention for Individuals Filin                                                         Under Cha ter 7                                12/15


    If you are an individual filing under chapter 7, you must fill out this form if:
    rl creditors have claims secured by your property, or
      . you have leased personal property and the lease has not expired.
   You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
          whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
                  on the form

    If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
                  signanddatetheform. ., '
"te. Be as complete and accurate as possible; If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
                  write your name and case number (if known).

                   List Your Creditors Who Have Secured Claims

   1 For any creditors that you listed in Part 1 of ScheduleD: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
       information below.




       Creditor's            LOAN CARE SERVICINGCENTER                          D Surrenderthe property.                          D No
       name:               '". LLC ,fe,                                         D Retain the property and redeem it.
                                                                                                                                       Yes
                                                                                B Retain the property and enter into a
       Description of 10696 E WALLFLOWERLN                                         Reaffirmation Agreement.
       property                  Florence, AZ85132 Final                        D Retainthe property and [explain]:
       securingdebt: County

   [ . y-* List Your Unex ired Personal Pro e Leases
   For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases(Official Form 106G), fill
   in the information below. Do not list real estate leases. Unexpired leases are leases that arestill in effect; the lease period has not yet ended.
   You may assume an unexpired personal property lease if the trustee does not assume it. 11 U. S.C. § 365(p)(2).

    Oesccteeyour ynexpired(iers6nal property teases                                                                          Wit) the tease be assumed?

    Lessor's name:                                                                                                           D No
    Description of leased
    Property:                                                                                                                D   Yes

    Lessor's name:                                                                                                           D No
    Description of leased
    Property:                                                                                                                D Yes




   Official Form 108                                         Statement of Intention for Individuals Filing Under Chapter 7                                  page 1

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  Lessor's name:                                                                                                              D No
  Description of leased
  Property:                                                                                                                   D Yes

  Lessor's name:                                                                                                              D No
  Description of leased
  Property:                                                                                                                   D Yes

  Lessor's name:                                                                                                              D No
  Description of leased
  Property:                                                                                                                   D Yes

  Lessor's name:                                                                                                              D No
  Description of leased
  Property:                                                                                                                   D Yes

  Lessor's name:                                                                                                              D No
  Description of leased
  Property:                                                                                                                   D Yes

              Si n Below


Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired tease.


        MORGA LE
                                               JfAA^                                    Signature of Debtor 2
        Signature of Deb r 1

        Date . 3\ ^                                                                 Date




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